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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MANDA LYNN WENTZLOFF
 6
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR. S-11-476 TLN
                                           )
12                     Plaintiff,          )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE AND TO EXCLUDE
13         v.                              )               TIME PURSUANT TO THE SPEEDY TRIAL
                                           )               ACT
14                                         )
     MANDA LYNN WENTZLOFF,                 )                Date: August 1, 2013
15                                         )                Time: 9:30 a.m.
                       Defendant.          )                Judge: Troy L. Nunley
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through JARED DOLAN,
18   Assistant U.S. Attorney, and defendant, MANDA LYNN WENTZLOFF, by and through her counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Thursday, June 20,
20   2013, be continued to Thursday, August 1, 2013, at 9:30 a.m.
21          The reason for this continuance is because additional time is needed for defense preparation and for
22   meetings between the parties with the goal being to resolve the case by way of a disposition.
23          It is further stipulated that the time period from the date of this stipulation, June 13, 2013, through and
24   including the date of the new status conference hearing, August 1, 2013, shall be excluded under the Speedy
25   Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense counsel
26   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
27   outweigh the best interests of the public and the defendant in a speedy trial.
28
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 1   Dated: June 13, 2013
 2                                                                   Respectfully submitted,
 3                                                                   HEATHER E. WILLIAMS
                                                                     Federal Defender
 4
                                                                     /s/ Matthew C. Bockmon
 5                                                                   MATTHEW C. BOCKMON
                                                                     Assistant Federal Defender
 6                                                                   Attorney for Defendant
                                                                     MANDA LYNN WENTZLOFF
 7
     Dated: June 13, 2013                                            BENJAMIN B. WAGNER
 8                                                                   United States Attorney
 9                                                                    /s/ Matthew C. Bockmon for
                                                                     JARED DOLAN
10                                                                   Assistant U.S. Attorney
                                                                     Attorney for Plaintiff
11
12                                                       ORDER
13              Based on the reasons set forth in the stipulation of the parties filed on June 13, 2013, and good cause
14   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
15   that the status conference currently scheduled for Thursday, June 20, 2013, be vacated and that the case be set
16   for Thursday, August 1, 2013, at 9:30 a.m. The Court finds that the ends of justice served by granting such
17   a continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT IS
18   HEREBY ORDERED that, for the reasons stated in the parties’ June 13, 2013, stipulation, the time within
19   which the trial of this matter must be commenced under the Speedy Trial Act is excluded during the time period
20   from the date of this stipulation, June 13, 2013, through and including August 1, 2013, pursuant to 18 U.S.C.
21   §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
22
     DATED: June 13, 2013
23
24
25                                                                                 Troy L. Nunley
26                                                                                 United States District Judge

27
28   Stipulation and O rder                                    2                                    U .S. v. Wentzloff, 11-476 TLN
